                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                    AT CHATTANOOGA


UNITED STATES OF AMERICA                             )
                                                     )       Case No.1:06-cr-09
vs.                                                  )
                                                     )
PATRICK PITTS                                        )       JUDGE EDGAR
                                                     )       MAGISTRATE JUDGE LEE



                              REPORT AND RECOMMENDATION

       Pursuant to 28 U.S.C. § 636(b), I conducted a plea hearing in this case on November 14,

2006. At the hearing, defendant moved to withdraw his not guilty plea to Counts One, Two, and

Three and entered a plea of guilty to Counts One, Two, and Three of the Indictment in exchange for

the undertakings made by the government in the written plea agreement. On the basis of the record

made at the hearing, I find the defendant is fully capable and competent to enter an informed plea;

the plea is made knowingly and with full understanding of each of the rights waived by defendant;

the plea is made voluntarily and free from any force, threats, or promises, apart from the promises

in the plea agreement; the defendant understands the nature of the charge and penalties provided by

law; and the plea has a sufficient basis in fact.

       Therefore, I RECOMMEND defendant’s motion to withdraw his not guilty plea to Counts

One, Two, and Three be granted, his plea of guilty to Counts One, Two, and Three of the Indictment

be accepted, the Court adjudicate defendant guilty of the charges set forth in Counts One, Two, and

Three of the Indictment, and that a decision on whether to accept the plea agreement be deferred

until sentencing. I further RECOMMEND defendant remain in custody until sentencing in this




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matter. Acceptance of the plea, adjudication of guilt, acceptance of the plea agreement, and

imposition of sentence are specifically reserved for the district judge.


                                               s/Susan K. Lee
                                               SUSAN K. LEE
                                               UNITED STATES MAGISTRATE JUDGE




                                       NOTICE TO PARTIES

        You have the right to de novo review of the foregoing findings by the district judge. Any
application for review must be in writing, must specify the portions of the findings or proceedings
objected to, and must be filed and served no later than ten days after the plea hearing. Failure to file
objections within ten days constitutes a waiver of any further right to challenge the plea of guilty
in this matter. See 28 U.S.C. §636(b).




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